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                             UNITED STATES DISTRICT CO RT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION                                 D£C 2 6 2023

    ajore J. Marks,
                Plaintiff,
                                                          Civil Action
  v.

                                                          CASE NO. l:23-cv-00431-MJT-CLS
  Javitch Block LLC,
                Defendant.




        PLAINTIFF S RESPONSE TO DEFENDANT’S MOTION TO DISMISS


  Plaintiff, Dajore J. Marks, hereby submits this memorandum in opposition to Defendant

  Javitch Block LLC's Motion to Dismiss, pu suant to the Fair Debt Collection Practices Act


  (FDCPA).
                                     I. INTRODUCTION

                                The Elements Of A FDCPA Claim

  Defendant, Javitch Block LLC, argues that Mr. Marks has failed to state a claim for relief under


  the FDCPA. A plaintiff alleges an FDCPA claim by alleging: (1) the plaintiff is a consumer; (2)

  the debt involved meets the definition of debt in the FDCPA; (3) the defendant is a debt

  collector; and (4) the defendant committed an act prohibited by the FDCPA. Turner v. Cook,


  362 F.3d 1219, 1227-28 (9th Cir. 2004); Heejon Ch ng v. U.S. ank, N.A., 250 F. Supp. 3d 658,


  680 (D.Haw. 2017).



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  The first element of an FDCPA claim is that the plaintiff is a consumer. Heejon Chu g,


  250 F. Supp. 3d t 680. A consumer is a person obligated or allegedly obligated to pay a debt. 15


  U.S.C. § 1692a(3). Here, Mi . Marks has alleged that he is a consumer because he was allegedly

  obligated to pay a debt from a past credit card account. Thus, Mr. Marks has alleged the first

  element of an FDCPA claim.



  The second element of an FDCPA claim is that the debt involved meets the definition of


  debt in the FDCPA. Heejon Chung, 250 F. Supp. 3d at 680. A debt is an obligation or alleged


  obligation to pay money from a transaction that is primarily for personal, family, or household

  purposes. 15 U.S.C. § 1692a(5). Here, Mi; Marks alleged debt resulted from a personal credit

  card.




  The third element of an FDCPA claim is that the defendant is a debt collector. Heej n


  Chu g, 250 F. Supp. 3d at 680. A debt collector is a person who uses an instrumentality of


  interstate commerce to engage in a busi ess in which the principal purpose is the collection of

  debts, or regularly attempts to collect debts owed or due to another. 15 U.S.C. § 1692a(6). Mr.

  Marks alleges in his complaint that Javitch Block LLC, regularly engages in the practice of debt

  collection. Therefore, Mr. Marks has alleged the third element of an FDCPA claim.



  The fourth and final element of an FDCPA claim is that the defendant committed an act


  prohibited by the FDCPA. Heejo Chu g, 250 F. Supp. 3d at 680. Among the many ways a debt




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  collector can violate the FDCPA, Javitch Block LLC did so by attempting to collect a debt at an


  inconvenient place, 15 U.S.C. § 1692c(a)(l).

  The FDCPA does not define place but the ordinary meaning of “place is clear. See

  “Place, Me riam-WebsterDictionary.


  mpaign=sd&utm_medium=serp&um_source=jsonld (last visited December 17,2023) defining

  “place as “a building, part of a building, or area occupied as a home.



  Defendant, Javitch Block LLC(“JBL ), continued to communicate with Mr. Marks at a


  known inconvenient place, even though he mailed a letter to JBL which informed him that


  contacting him via email was the only convenient way to communicate JBL s communication


  and collection attempts constitute a violation of 15 U.S.C. § 1692c(a)( 1) of the FDCPA.


  Furthermore, this communication and collection atte pt was an invasion of Mr. Marks privacy,

  intruding upon his seclusion. This intrusion resulted in Mr. Marks experiencing frustration,


  an er, and anxiety. The unwanted communication directed at Mr. Marks exemplify the type of


  actions that Congress intended to prohibit when enacting the FDCPA.



  The Fair Debt Collection Practices Act ( FDCPA ) has been in existence since 1977 to


  prevent abusive practices in the collection of consumer debts. Regulation F was later introduced


  to further refine and enforce these practices.



  While the FDCPA provides the foundation for consumer protections related to debt

  collection, it has so e limitations. For instance, it doesn't include extensive provisions for new




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   modes of communication, like email or social media.



   Regulation F was introduced by the Consumer Financial Protection Bureau ( CFPB ) as


   an updated set of rules that supplement and detail requirements under the FDCPA. It aims to


   adapt to changes in the way debtors and collectors communicate brought by technological

   advances, and to provide clear rales that would prevent legal ambiguity.



   The purpose of Regulation F is not to replace the FDCPA, but to fortify and modernize it.


   It provides consumers with more clarity and agency in their interaction with debt collectors, yet

   still allowing the collection industry to carry out their operations effectively.


  Regulation F § 1006.14 Harassin , Oppressive, or abusive conduct.

          (h) Prohibited communication medi (1) In eneral. In connection with the
          collection of any debt, a debt collector must not communicate or attempt to co municate
          with a person through a medium of communication if the person has requested that the
          debt collector not use that medium to communicate with the person.


   1692c Communication in connection with debt collection
          (a) Communication with the consumer generally
          Without the prior consent of the consumer given directly to the debt collector or the
          express permission of a court of competent jurisdiction, a debt collector may not
          communicate with a consumer in connection with the collection of any debt (1) at any
          unusual time or place or a time or place known or which should be known to be
          inconvenient to the consumer.


          In the absence of knowled e of circumstances to the contrary, a debt collector shall
          assume that the convenient time for communicating with a consu er is after 8 o clock
          antemeridian and befo e 9 o clock postmeridian, local time at the consumer’s location.

                                             II. ARGUMENTS

  A. Misapplication of the TransUnion and Perez Precedents


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  The Defendant's reliance on Trans U ion LLC v. Ramirez and its interpretation in Perez v.

  McCreary, V selka, Brayy & Allen, PC., is a fundamental misapplication of legal principles

  when applied to the present case under 15 U.S.C. § 1692c(a)(1) of the FDCPA. This

  misapplication is not merely an academic error but a substantive one that misdirects the focus

  from the actual legal issue at hand the protection of consumer privacy against intrusive debt

  collection practices.

          1. Contextual Difference in Legal Issues: TransUnion LLC v. Ra irez primarily

         dealt with the issue of credit reporting and its implications for privacy and economic

         interests. The Supreme Court's analysis in TransU ion was centered on the concrete

         injury requirement for Article Ill standing in the context of a statutory violation involving

         credit reporting. This context is markedly different from the issue at hand, which involves

         direct communication with consumers in debt collection under § 1692c(a)( 1). The

         privacy concerns in § 1692c(a)(T) are not analogous to the credit reporting issues in

         TransUnion, making the Defendant's reliance on this case misplaced and inapplicable.



         2. Nature of Injury in Tra sUnion vs. $ 1692c(aXD: In TransU ion, the Court

         was concerned ith whether the plaintiffs had suffered a concrete injury as a result of

         procedural violations in credit reporting. The nature of injury contemplated in

         TransU ion was tied to the accuracy of credit information and its potential impact on

         consumers' economic welfare. In contrast, § 1692c(a)( 1) addresses the concrete injury of

         privacy intrusion, which is inherently different. This provision protects consumers from

         the invasion of their personal space and peace, a type of injury that is immediate and

         tangible, unlike the more abstract harm considered in Trans nion.



         3. Misinter retation in Perez', In Perez, the Fifth Circuit applied the principles of



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         TrcmslMon to claims under the FDCPA, focusing on procedural violations. However, the

         Defendant's application of Perez to the present case overlooks the substantive nature of

         the violation under § 1692c(a)( 1). The Perez decision does not negate the fact that a

         violation of § 1692c(a)(l) can constitute a concrete injury, as it directly impacts the

         consumer's privacy and tranquility.




         4. Ina plicability of TransUnion's Concrete Injury Analysis: The Defendant's

         argument erroneously applies TransU ion's concrete injury analysis to a situation where

         the injury is inherently concrete. The receipt of unwanted communications at

         inconvenient times or places, as prohibited by § 1692c(a)( 1), is a direct intrusion into the

         consumer's personal life. This intrusion, unlike the procedural violations discussed in

         TransUnion does not require additional proof to establish its concrete nature.

  B. Misrepresentation of Ap licable Statutory Provisions

  The Defendant s erroneous citation of 15 U.S.C. § 1692e in the context of the present case,

  which fundamentally concerns 15 U.S.C. § 1692c(a)( 1), demonst ates a substantial

  deviation from the pertinent issues at hand and a misinterpretation of the applicable legal

  provisions.

         1 • Misali nment with Core Alle ations: The citation of 15 U.S.C. § 1692e, which

         pertains to "false, deceptive, or misleading representation or means in connection with

         the collection of any debt," starkly misaligns with the co e allegations of this case. The

         Plaintiffs claims are rooted in the protections afforded by 15 U.S.C. § 1692c(a)(l), which

         specificall add esses the timing and nature of communications in debt collection and

         aims to safeguard consumers from intrusions into their personal and private lives.




         2. Concrete Nature of Privacy Intrusions Under $ 1692c(a)( 1): The nature of the



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         injury under § 1692c(a)( 1) is inherently concrete and distinct from the more abstract or

         economic harms typically associated with § 1692e. The receipt of unwanted

         communications at inconvenient ti es or places constitutes a direct and tangible intrusion

         into the consumer's personal life and privacy. This type of injury is immediate and

         palpable, reflecting a clear invasion of the personal sanctity that § 1692c(a)( 1) seeks to

         Protect.

         3 ¦ Ina plicability of TranslJnion's Concrete Injury Analysis to § 1692c(aK 1): The

         Defendant's attempt to apply TranslJnion's concrete injury analysis to the concrete

         injuries associated with privacy intrusions under § 1692c(a)( 1) is inapplicable and

         inappropriate. The direct and personal nature of these intrusions, as experienced by the

         Plaintiff, does not require the same type of abstract consideration of harm that was at

         issue in TransU io . Instead, the injuries here are of a nature that has long been

         reco nized as concrete and actionable within the realm of privacy and personal space

         protection.

                          I. Consumer Privacy Under Section 1692c

  Section 1692c specifically addresses communications in connection with the collection of


  a debt, prevents third party disclosures of debt collection information, and provides protections


  for consumers to stop unwanted communications from debt collectors. As such, section 1692c is


  squarely focused on consumer privacy. West v. ('osten, 558 F. Supp. 564, 577 (W.D. Va. 1983)


  ( the primary purpose of section 1692c is to protect the consumer's privacy and employment ).

  Section 1692c(a) limits the kinds of contact debt collectors can have with consumers, thus

  preventing debt collectors from intruding upon a consumer s seclusion at inconvenient times or


  places, or at a consume s place of employment, or with the consumer directly if the consumer




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  hired an attorney to deal with the debt collector. Section 1692c(b) prevents debt collectors from


  telling most third parties about the consumer s debt, thus preventing debt collectors from


  publicly disclosing private facts about the consu er (yet another subset of invasion of privacy


  type torts). And finally, 1692c(a)( 1) specifically gives the consumer the right to inform a debt

  collector what times or places are inconvenient to the consumer.


                            IV. When Addressing Article III Standi g


  The Tenth Cir has held “We address standing on a claim-by-claim basis. Santa


  Fe All. for Pub. Health & Safety v. City of Sa ta Fe, 993 F.3d 802, 813 (10th Cir. 2021).


                                         V. Standing

  To have standing, a plaintiff must show that she (1) suffered an injury in fact, (2) that is


  fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed

  by a favorable judicial decision. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citations

  omitted). Injury in fact, the first of the three elements, requires that a plaintiff has suffered an


  invasion of a legally protected interest that is ‘concrete and particularized and ‘actual or


  imminent, not conjectural or hypothetical. Id. at 1548 (quoting Lujan v. Defs. of Wildlife, 504

  U.S. 555, 560 (1992)). Courts have focused on analysis on the concrete requirement, which


  requires that an injury be real rather than abstract. Id. (citation omitted). Simply put, [n]o

  concrete harm, no standing. Transllnion L C, 141 S. Ct. at 2200.



  Plaintiff alleged that Defendant, Javitch Block LLC, violated § 1692c(a)( 1) by contacting




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   him via ail when he specifically requested in wilting to contact hi by email only and left his


   email address for the debt collector to communicate. Relevant to standing, he alleged that


   Defendant Javitch Block LLC, contacted via mail which was unwanted and intruded on his


   privacy and caused him to suffer intangible harms, which Con ress has made legally cognizable

   in passing the FDCPA. Therefore, Plaintiff has sufficiently alleged concrete harm.


   As a general principle, [cjoncrete is not. . . necessarily synonymous with tangible.


  Spokeo, Inc., 136 S. Ct. at 1549. Though conc eteness may be more easily satisfied for tangible

   injuries like physical or monetary harms, intangible injuries, like the ones Mr. Marks alleges,

  may nevertheless be concrete for standing purposes.



  In determining whether an intangible harm is sufficiently concrete to constitute an injury


   in fact, we look to both history and to the judgment of Congress. The Court has explained:

   history and tradition offer a meaningful guide to the types of cases that Article III empowers

  federal courts to consider. TranslJnio LLC, 141 S. Ct. at 2204 (citations omitted). And


  “because Congress is well positioned to identify intangible harms that meet minimum Article III

  requirements, its judgment is . . . instructive and important.” Spokeo, Inc., 136 S. Ct. at 1549.


  Accordingly, we “afford due respect to Congress s decision to impose a statutory prohibition or

  obligation on a defendant, and to grant a plaintiff a cause of action to sue over the defendant’s

  violation of that statutory prohibition or obligation. Tra slJ io LLC, 141 S. Ct. at 2204

  (citation omitted).




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   Looking at history, courts have considered whether an alleged intangible harm has a


   close relationship to a harm that has traditionally been regarded as providing a basis for a lawsuit


   in English or American courts. Spokeo, Inc., 136 S. Ct. at 1549 (citation omitted). Stated

   another way, this inquiry asks whethe plaintiffs have identified a close historical or

   common-law analogue for their asserted injury.” Tra slI io LLC, 141 S. Ct. at 2204. At


   common law, courts readily recognized a concrete injury arising from the tort of intrusion upon


   seclusion a tort protecting against defendants who intrude into the private solitude of another.


   See Restatement (Second) of Torts § 652A(2)(a)( 1977); see also id. § 652B. And the Supreme

   Court recently cited “intrusion upon seclusion as a harm traditionally recognized as providing

   a basis for [a] lawsuit in American courts.” TransUnio LLC, 141 S. Ct. at 2204 (citing


   Gadelhak v. AT&TSe vs., Inc., 950 F.3d 458, 462 (7th Cir. 2020) (Barrett, J.), cert denied, No.

   20-209,2021 WL 1521010 (U.S. Apr. 19, 2021)).



   This tort imposes liability for intrusions on a plaintiff s privacy, such as when the


   defendant demands payment of a debt by sending a letter after being told not to contact Plaintiff


   by mail, only via email, “with such persistence and frequency as to amount to a course of


   hounding the plaintiff. Restatement, supra, § 652B cmt. d. Mr. Marks suffered a similar harm


   when Defendant, Javitch Block LLC, made an unwanted contact in an attempt to collect a debt


   after being told not to contact him by mail and to contact him via email only about a debt, despite

   him having sent written notice on the preferred communication Defendant Javitch Block LLC,

   disregarded the request. Thus, Mr. Marks suffered an injury bearing a “close relationship to the



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   tort of intrusio upon seclusion. See Gadelhak, 950 F.3d at 462-63 (detennining that a


   consumer s receipt of a few unwanted text messages under the Telephone Consumer Protection


   Act is a modern relative of the tort of intrusion upon seclusion a tort with long common law

   roots”); see also DiNaple v. MRS BRO, L C, 34 F.3d 275, 279-80 (3d Cir. 2019) determining


   that a debtor had standing after a debt collector disclosed her account number in violation of the


   FDCPA because it implicate[d] core privacy concerns, which were closely related to harm

   that has traditionally been regarded as providing a basis for a lawsuit” (citation omitted)).


   Despite Defendant Javitch Block LLC s contentions that a single letter causes no actual

   damages, we find Gadelh k instructive. That court rejected the argument that because a few text


   messages failed to rise to the level of an actionable intrusion-upon-seclusion tort, the resulting


   harm amounted to an abstract injury only:


          [WJhen Spokeo instructs us to analogize to harms recognized by the common law, we are

          meant to look for a close relationship in kind, not degree. In other words, while the


          common law offers guidance, it does not stake out the limits of Congress s power to

          identify harms deserving a remedy. Congress’s power is greater than that: it may elevate

          to the status of legally cognizable injuries concrete, de facto injuries that were previously


          inadequate in law. A few unwanted automated text messages may be too minor an


          annoyance to be actionable at common law. But such te ts nevertheless pose the same


          kind of harm that common law courts recognize a concrete harm that Congress has


          chosen to make legally cognizable.



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   Id. at 462-63 (brackets, internal quotation marks, citations, and footnote omitted). So too here.


   Though a single letter may not intrude to the degree required at common law, that phone call and


   text poses the same kind of harm recognized at common law an unwanted intrusion into a

   plaintiff s life upsetting him to file this action. See TranslJnion L C, 141 S. Ct. at 2204


     Spoken does not require an exact duplicate in American history and tradition. ). Unlike here,

   the Court in TransUnion held that certain plaintiffs failed to allege a concrete harm. 141 S. Ct. at


   2209-10. But that case differs markedly from ours. In considerin the Fai Credit Repo ting Act,


   the TransU ion Court noted that a company s maintaining incorrect information in its database,

   absent dissemination to a third party, failed to create a harm bearing a close relationship to the


   common-law tort of defa ation. See id. Without the necessary defamation component that the


   tortious words were published, this harm differed in kind. See id. at 2209 (citation omitted). That

   analysis doesn’t control our case because, as just explained, Lupia v Medicredit 8 F.4th


   1184(1 Oth Cir. 2021) has alleged the necessary components for a common-law

   intrusion-upon-seclusion tort.




   Next, Courts have considered the “judgment of Congress. Spoken, Inc., 136 S. Ct. at


   1549. In enacting the FDCPA, Congress recognized that abusive debt-collection practices may


   intrude on another’s privacy interests. See 15 U.S.C. § 1692(a) (“Abusive debt collection

   practices contribute to . . . invasions of individual privacy. ); see also Cohen v. Rosicki, Rosicki


     Assocs., P.C., 897 F.3d 75, 81 (2d Cir. 2018) ( Congress enacted the FDCPA to protect against




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   the abusive debt collection practices likely to disrupt a debtor s life. (inte al quotation marks


   and citation omitted)). Mr. Marks complains that his receipt of an unwanted letter did just that.



   That isn t to say that Congress may simply enact an injury into existence, using its lawmaking

   power to transform somethin that is not remotely harmful into something that is. Tranxllnion


   LLC, 141 S. Ct. at 2205 (citations omitted); see also Spoken, Inc., 136 S. Ct. at 1550 ( [Plaintiff]

   cannot satisfy the demands of Article III by alleging a bare procedural violation”). We cannot



    treat an injury as concrete’ for Article III purposes based only on Congress’s say-so.


   Tra sU io LLC, 141 S. Ct. at 2205 (citations omitted). But we needn’t rely on Congress s

   “say-so alone. As noted, Mr. Marks claims have roots in long-standing common-law


   tradition. Therefore, Mr. Marks has sufficiently alleged that he suffered a concrete injury.

   In the recent Tenth Circuit case Lupia v Medicredil, 8 F.4th 1184 (10th Cir. 2021) Medicredit


   plead that “Plaintiff Lupia failed to plead that Ms. Lupia failed to allege a sufficient injury in her


   Complaint. See Appellant’s Supp. Br .at 4 (“[Ms. Lupia’s] Complaint does not allege that the

   phone call injured her or invaded her privacy. ). The Court noted, Ms. Lupia alleged in her

   Complaint that Medicredit caused her to su fer intangible harms that Congress made legally

   cognizable in passing the FDCPA. Appellant’s App. vol. 1 at 7 (citations omitted); see also S .


   Utah Wilderness A . v. Palma, 707 F.3d 1143, 1152-53 (10th Cir. 2013) (“[W]e examine the . . .

   complaint in assessing a plaintiff’s claims, including the allegations in support of standing.

   (internal quotation marks and citation omitted)). Coupled with Mr. Marks factual allegations




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   about the receipt of an unwanted letter allegations suffice. Indeed, Mr. Marks asserted the same


   privacy interests.




   Finally, Defendant Javitch Block LLC argues that the Seventh Circuit s recent


   standing cases apply (citing Pennell v. Gloh. Tr. Mgmt., L , 990 F.3d 1041 (7th Cir. 2021). That

   case predates the Supreme Court s decision in TransU ion in which the Court clarified the


   Spokeo standing requirements, including that the tort of intrusion upon seclusion is recognized as


   an intangible harm providing a basis for a lawsuit in American courts. See TransUnion LLC, 141

   S. Ct. at 2204-14. Pen ell analyzes 15 U.S.C. § 1692c(c), it dealt with a plaintiff’s complaints of


    stress and confusion not an invasion of privacy. 990 F.3d at 1045. Likewise, in Lupia v

   Medic edit, 8 F.4th 1184 (10th Cir. 2021) determine that Ms. Lupia has satisfied the

   injury-in-fact requirement.


                          I. K own or Which Should Be Known Standard


   Section 1692c(a)(l) of the FDCPA provides that a collector cannot contact the consumer


   at a time or place that is known or should be known as inconvenient. This clearly means that


   once a debt collector receives a request to cease communication at specified inconvenient times

   or places, whether the request is made orally or in writing, the debt collector then knows the time


   or place is inconvenient and must honor that request. Section 1692c(a) does not impose any

   writing requirement on the consumer. . . . Thus, Plaintiff specifically told Defendant Javitch

   Block LLC in writing not to contact him in the mail and only by email; therefore. Defendant

   Javitch Block LLC., knew other methods were inconvenient.




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                          VII. Verification of Debt I692g(b) Argument


   In this case, Plaintiff does not assert any claim under 15 U.S.C. § 1692g(b).


   Plaintiff s cause of action herein is solely under 15 U.S.C. § 1692c(a)(l). The alleged debt in


   question has been past due and reporting since 2022and any of the 15 U.S.C. § 1692g(b) rights

   have passed. Just to be clear Plaintiff has not alleged Defendant failed to cease within the first 30


   days of receiving Defendant dunning letter nor that validation or verification was inadequate

   pursuant to 15 U.S.C. § 1692g(b).

                                           VHI. Conclusion


   In summary, the Defendant's reliance on 15 U.S.C. § 1692e and the misapplication of the


   TrunsUnion and Perez precedents represent a fundamental misunderstanding or

   misrepresentation of the legal issues central to this case. The Plaintiffs claims are squarely


   grounded in the protections against privacy intrusions as articulated in 15 U.S.C. § 1692c(a)( 1),

   and the nature of the injuries alleged a e inherently concrete and distinct from the concerns


   addressed by § 1692e. As such, the Defendant's Motion to Dismiss, predicated on these


   misrepresentations, fails to grasp the substantive legal and factual underpinnings of the Plaintiff's

   claims and should be denied. The court must recognize the specificity of the Plaintiffs claims


   under § 1692c(a)( 1) and the concrete nature of the injuries suffered, which are directly addressed

   by the statutory provision and supported by the le islative intent behind the FDCPA.



   The allegations of unwanted intrusion, leading to frustration, anxiety, and privacy




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   invasion, are grounded in both historical recognition and Congr essional judgment through the


   FDCPA. These are not abstract grievances but concrete harms as envisaged by legal doctrine and


   supported by seminal case law. Therefore, he has Article III standing to pursue his claims.

   WHEREFORE, Plaintiff requests the Court denies Defendant s Motion to Dismiss.



                                                               Respectfully submitted:

                                                               Dated: ~o?3
                                                               Dajore J Marks
                                                               3760 Broadmoor Drive
                                                               Beaumont, TX 77707
                                                               Dmarks2011 grad@gmail.com



                                       CERTIFICATE OF SERVICE

          I certify that a true copy of the foregoing was served via USPS mail to:

          Michael D. Slodov, OH SCR #0051678
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          Cleveland, OH 44114
          (866) 881-2400 ext. 2781
          Direct (440) 318-1073
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          Attorneys for Defendant
          Javitch Block LLC

          Dated: / o< -


          Dajore J Marks               "     I I




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